                     Case 1:06-cr-00298-GJQ
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     JORGE LUIS GOMEZ                                                                          Case Number:         1:06-CR-298

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)     The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                      offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                      existed) that is
                            a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                            an offense for which the maximum sentence is life imprisonment or death.
                            an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                      ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                            under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                                            safety of
                      reasonably assure the appearance   ofthethe   community.
                                                              defendant  as required and the safety of the community.
                                                                     Alternate Findings (B)
             (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                     Defendant Gomez is a 49-year-old U.S. citizen who was born in Mexico and lives in Texas. He has no connection with this
                     district other than the present charges of importing several thousand pounds of marijuana. In Texas, defendant is a
                     self-employed electrician with a home and family. Defendant has two previous known convictions in Texas, one for the
                     possession of a controlled substance which resulted in a two-year suspended prison sentence and five years probation.
                     Testimony revealed he also has utilized 20 or 21 aliases during previous years. Law enforcement has not had an
                     opportunity to obtain criminal backgrounds under all the various aliases, (continued on second page)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   no condition or combination of conditions will assure the safety of the community from further drug dealing by this defendant,
   due to his ability to orchestrate extremely large drug shipments from across the country. Notwithstanding that he has a nice
   family in Texas, he has deliberately chosen to undertake a large drug smuggling operation for money and away from his
   home. The 20 aliases suggest there has been more previous criminal activity than reported today. (continued on next page)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         December 14, 2006                                                            /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)

although apparently there was a California conviction attributed to one of them. Video recordings of defendants
unloading numerous bales of marijuana suggest that he was a supervisor of the operation, having flown up from Texas
to meet the truck driver. A cell phone found in his possession was the one called by a confidential informant to set up
the drug delivery. Over 102 bales of marijuana totaling 3,579 pounds were involved with a wholesale street value of
$3.5 million dollars locally. It appears defendant was also involved with an 800-pound seizure of marijuana in Texas
previously. There was no evidence of violence or guns involved.




Part II - Written Statement of Reasons for Detention - (continued)

Alternatively, the court finds that defendant ha not rebutted the presumption in this regard either.
